                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Motion was electronically

filed with the Clerk of Court on November 13, 2023, using CM/ECF. I further certify that a true

and correct copy of the foregoing Motion was served on the following counsel via electronic

submission:


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                                                  trustee for the benefit of the Holders of
                                                  Corevest American Finance 2018-2 Trust
                                                  Mortgage Pass-Through Certificates


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                                             Respectfully,

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